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8                      IN THE UNITED STATES DISTRICT COURT

9                    FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA            ) CR. NO. S-05-0034-LKK
12                                       )
                      Plaintiff,         )
                v.                       ) ORDER SETTING TRIAL SCHEDULE
13
                                         ) AND EXCLUDING TIME
14                                       )
     JAY McCASTLE, and                   )
     DAVID TALCOTT USSERY,               )
15
                                         )
                      Defendants.
16                                       )

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18        Based upon request of the parties and representations made in

19   open court on February 22, 2006, IT IS HEREBY ORDERED:

20        This matter is set over for a trial confirmation hearing on

21   March 28, 2006, with trial commencing April 12, 2006.

22        The Court finds that the defendants< counsel reasonably require

23   additional time to review discovery with their clients and to

24   conduct investigation for effective preparation for trial.

25        The Court further finds that the ends of justice served by

26   granting the defendant's counsel time to diligently investigate and

27   prepare outweigh the interest of the defendant and the public in a
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1    speedy trial.

2    The motion regarding the photographic identification made by a

3    confidential informant will be heard immediately prior to trial.

4    The motion regarding the issue of the potential duplicity in the

5    indictment will be held in abeyance until such time as the

6    government obtains a superseding indictment which they state they

7    intend to seek to add charges and clarify the charges against the

8    two remaining defendants going to trial.

9         Accordingly, the Court orders that time shall be excluded until

10   April 12, 2005 under the Speedy Trial Act, 18 U.S.C. §

11   3161(h)(8)(iv) (T-4 / preparation and continuity of counsel).

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14   Dated: March 7, 2006                   /s/ Lawrence K. Karlton
                                            HONORABLE LAWRENCE K. KARLTON
15                                          UNITED STATES DISTRICT COURT JUDGE
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